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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov

In re:                                                      Case No.: 8:23-bk-02545-CPM
                                                            Chapter 7
REPAIR GUY ONE LLC,

      Debtor.
_________________________/

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         To the debtor, its attorneys of record, and all parties of interest:

         PLEASE TAKE NOTICE that pursuant to Bankruptcy Rules 2002 and 9007 and

Bankruptcy Code §§ 102(1) and 342, Gregory D. Snell, Esq. of Snell Legal, PLLC (“Snell”),

as counsel for the creditor, East Coast Marine Construction & Design Inc., requests that

all notices given or required to be given in the above-referenced case (including, but not

limited to, all papers filed and served in the Debtor’s main bankruptcy case, and all

adversary proceedings in this case, and all notices mailed to statutory committees and to

creditors who file with the court their request that all notices be mailed to them) be given

to and served upon Snell at the following address:

                                      Gregory D. Snell
                                      Snell Legal PLLC
                                   110 Integra Breeze Lane
                                           Suite 1A
                                 Daytona Beach, Florida 32117
                                        (386) 265-5221
                                    gnsell@snell-legal.com


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      Notice is further given that the foregoing request includes not only notices and

papers referred to in Bankruptcy Rule 2002, but also includes, without limitation, orders

and notices of any application, motion, petition, pleading, request, complaint or demand,

whether formal or informal, whether written or oral, and whether transmitted or

conveyed by mail, hand delivery, telephone, telegraph, facsimile, telex or otherwise that

affect the above-captioned debtor or the property of such debtor or the debtor’s estate.

Dated: August 4, 2023



                                                              SNELL LEGAL PLLC
                                                              Counsel for Plaintiff
                                                              110 Integra Breeze Lane
                                                              Suite 1A
                                                              Daytona Beach, FL 32117
                                                              (386) 265-5221
                                                              By: /s/ Gregory D. Snell___
                                                              Gregory D. Snell
                                                              Florida Bar No. 442356
                                                              gsnell@snell-legal.com




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via
CM/ECF transmission on all parties currently on the list to receive e-mail notice/service
for this case, on this 4th day of August 2023.

                                                                SNELL LEGAL PLLC
                                                                Counsel for Plaintiff
                                                                110 Integra Breeze Lane
                                                                Suite 1A
                                                                Daytona Beach, FL 32117
                                                                (386) 265-5221
                                                                By: /s/ Gregory D. Snell___
                                                                Gregory D. Snell
                                                                Florida Bar No. 442356
                                                                gsnell@snell-legal.com




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